Case 0:13-cv-60596-KAM Document 9 Entered on FLSD Docket 06/06/2013 Page 1 of 2




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 0:13-cv-60596-KAM

 FABIOLA BENISON, individually,

        Plaintiff,

 v.

 COMMONWEALTH FINANCIAL SYSTEMS,
 INC., d/b/a NCC, a foreign corporation, and
 ASSET ACCEPTANCE CAPITAL CORP.,
 a foreign corporation,

       Defendants.
 _________________________________________/

                            NOTICE OF SETTLEMENT AND
                     STIPULATION FOR DISMISSAL WITH PREJUDICE

        Plaintiff and Defendants hereby give notice of settlement and agree that Plaintiff's action

 should be dismissed with prejudice, with each party to bear its own costs and attorneys fees,

 except as otherwise agreed.

        WHEREFORE, the Plaintiff and Defendants respectfully request that this case be

 dismissed with prejudice with the Court reserving jurisdiction to enforce the parties' Settlement

 Agreement in accordance with its terms.

        Respectfully submitted this 6th day of June, 2013.

                                        STIPULATION

                                              BRET L. LUSSKIN, Esq.
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                                           By: /s/ Bret L. Lusskin, Esq.
Case 0:13-cv-60596-KAM Document 9 Entered on FLSD Docket 06/06/2013 Page 2 of 2




                                               Bret L. Lusskin, Esq.
                                               Florida Bar No. 28069

                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 6th day of June, 2013, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this date via U.S. mail and/or some other authorized manner for those

 counsel or parties, if any, who are not authorized to receive electronically Notices of Electronic

 Filing.

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                                          By: /s/ Bret L. Lusskin, Esq.
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